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11    Counsel for Defendant CORE Community
12    Organized Relief Effort, Inc.

13
14                      UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                          LOS ANGELES DIVISION

16     Marchail Solomon, on behalf of         Case No: 2:21-cv-09630-RGK-PVC
       himself and all others similarly
17     situated,                              STIPULATION TO STAY CASE
                                              PENDING ARBITRATION, OR IN
18           Plaintiff,                       THE ALTERNATIVE,
                                              STIPULATION TO EXTEND TIME
19           v.                               TO RESPOND TO INITIAL
                                              COMPLAINT BY NOT MORE
20     CORE Community Organized Relief        THAN 30 DAYS (L.R. 8-3)
       Effort, Inc.,
21           Defendant.                       Judge:          Hon. R. Gary Klausner
22                                            Date:           n/a
                                              Time:           n/a
23                                            Courtroom:      850

24                                            Complaint served: December 20, 2021
                                              Current response date: January 10, 2022
25                                            New response date: February 9, 2022

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                                            -1-          Case No.2:21-cv-09630-RGK-PVC
                                                                              Stipulation
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 1          Pursuant to Local Rules 7-1 and 52-4.1, Plaintiff Marchail Solomon
 2    (“Plaintiff” or “Solomon”) and Defendant CORE Community Organized Relief
 3    Effort, Inc. (“Defendant” or “CORE”), by and through counsel hereby stipulate
 4    and agree as follows:
 5                                        RECITALS
 6          WHEREAS, Plaintiff filed this action on December 13, 2021, asserting
 7    claims for alleged unpaid overtime wages under the federal Fair Labor Standards
 8    Act, on behalf of himself and all others similarly situated;
 9          WHEREAS, on December 15, 2021, counsel for Defendant provided
10    counsel for Plaintiff with a copy of an allegedly binding arbitration agreement;
11          WHEREAS, the deadline for Defendant to file its responsive pleading is
12    January 10, 2022;
13          WHEREAS, Plaintiff does not admit at this time that such agreement is
14    enforceable, but admits that the purported arbitration agreement contains a
15    delegation clause referring such issues to the arbitrator;
16          WHEREAS, the Federal Arbitration Act (“FAA”) provides in relevant part
17          if any suit or proceeding be brought […] upon any issue referable to
            arbitration […] the court in which such suit is pending, upon being
18          satisfied that the issue involved in such suit or proceeding is referable
            to arbitration […] shall on application of one of the parties stay the
19          trial of the action until such arbitration has been had in accordance
            with the terms of the agreement […]
20
      9 U.S.C. § 3; and
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            WHEREAS, based on the purported arbitration agreement, the Parties
22
      request that the Court stay this proceeding pursuant to 9 U.S.C. § 3;
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            OR, IN THE ALTERNATIVE, if the Court is not inclined to grant the
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      stay, the Parties stipulate to extend the time to respond to the Complaint by not
25
      more than 30 days to February 9, 2022.
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                                                -2-          Case No.2:21-cv-09630-RGK-PVC
                                                                                  Stipulation
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 1                                        STIPULATION
 2          NOW, THEREFORE, the Parties, by and through counsel, hereby
 3    STIPULATE AND AGREE THAT:
 4          This case should be stayed pending arbitration, with the Parties to return to
 5    this Court to seek confirmation of any award. See Cortez Byrd Chips, Inc. v. Bill
 6    Harber Constr. Co., 529 U.S. 193, 202 (2000) (“a court with the power to stay the
 7    action under [the FAA] has the further power to confirm any ensuing arbitration
 8    award.”); or, in the alternative,
 9          The time to respond to the Complaint is extended by not more than 30 days
10    to February 9, 2022.
11
12    Dated: January 7, 2022
                                             Respectfully submitted,
13
14                                           By:     s/Melinda Arbuckle
                                                     Melinda Arbuckle
15
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16                                           Melinda Arbuckle (Cal. Bar No. 302723)
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20                                           Counsel for Plaintiff and Proposed Class
                                             Members
21
22                                           By:     s/Philip I. Person
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                                               -3-            Case No.2:21-cv-09630-RGK-PVC
                                                                                   Stipulation
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                                             Counsel for Defendant CORE Community
 1                                           Organized Relief Effort, Inc.
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 3                       Attestation Pursuant to Local Rule 5-4.3.4
 4          Pursuant to Central District Local Rule 5-4.3.4(a)(2)(ii), the undersigned
 5    hereby attests that all signatories on whose behalf this filing is submitted concur in
 6    the content of this filing and have authorized the filing.
 7                                           s/Melinda Arbuckle
 8                                           Melinda Arbuckle

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                                                -4-          Case No.2:21-cv-09630-RGK-PVC
                                                                                  Stipulation
